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                                 ld rather end her than                             r             r                     il
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                                 getting raped or ind
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                                 Hes seriously at risk hes a very
                                 handsome kid


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                                            Sounds like we're coming to a                                           I
                                            conclusion
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    I      I                     Prime pedo bait

                             Shes a prime target                                                                    t.
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                             Drunken mom
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                             Cps takes the kid

                             Any predator worth a damn would
                             see the opportunity
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                                    I   found a section on how to make           a
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                             The damn nurses already called cps
                             once
                         I
                             And theres new laws that let them
                             take action
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                                 You could put something addictive in
                                 her drink

                                                     It'd only take one time
                     i
                                 You'd have that kid in a matter of a
                                 week if you put some coke in there.                 I

                                 can get that for you by next week

                                                              Maybe this week




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                                                         Maybe this              I




                 I
                         I have    pretty quick and easy access
                                    like coke,     n"ro'3ffi*                        I
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        lt           lll think it over we have time
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        li                                                     Of course

                          Ithink the benefit of her on drugs
                          could be not just you get the kid but
                          you get revenge on her as well

                         Because she gets locked up or worse

                         It couldn't get traced back to you
                 I
                         either because she has substance
                         abuse issues so when they find coke                                     I
                         in her system and she doesn't
                         remember doing coke she'll say "it's
                         not my fault" which wou
                         really retarded lol
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                           you get revenge on her as well
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                           Because she gets locked up or worse

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                          abuse issues so when they find coke
            i
                          in her system and she doesn't
                          remember doing coke she'll say "it's
                          not my tault" which would sound
                          really retarded lol
                                                       Nov26, za19T4gpw(Q


    i                Shes already slowly doing herself in

                     You guys are so hastey lol
                                      NOV 26, 20191:49 PM


                                  I   guess ljust like breaking the law

    i                                                 Lol
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                 There are other issuss like how does
                 one be a parent in the Ukrainian army                           .1,..


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